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                            United States District Court
                                     EASTERN DISTRICT OF TEXAS
                                         SHERM AN DIVISION


 UNITED STATES OF AMERICA                         §
                                                  §
  vs.                                             §            Case No. 4:07cr42
                                                  §            (Judge Schell)
 ANDY TAYLOR MCCULLOUGH                           §

                            REPORT AND RECOMMENDATION
                         OF UNITED STATES MAGISTRATE JUDGE

        Pending before the Court is the request for revocation of Defendant’s supervised release.

 After the District Judge referred the matter to this Court for a report and recommendation, the Court

 conducted a hearing on January 13, 2014, to determine whether Defendant violated his supervised

 release.

        On February 26, 2008, Defendant was sentenced by the Honorable Richard A. Schell to eight-

 one (81) months’ custody followed by five (5) years of supervised release for the offense of

 Conspiracy to Possess with Intent to Distribute Heroin. On June 12, 2013, Defendant completed his

 period of imprisonment and began service of his supervised term.

        On November 21, 2013, the U.S. Probation Officer executed a Petition for Warrant for

 Offender Under Supervision. The petition asserted that Defendant violated various mandatory,

 standard, and special conditions.

        Prior to the Government putting on its case, Defendant entered a plea of true to all of the

 allegations. The Court recommends that Defendant’s supervised release be revoked.

                                       RECOMMENDATION

        The Court recommends that the District Judge revoke Defendant’s supervised release.

 Pursuant to the Sentencing Reform Act of 1984, the Court recommends that Defendant be committed

 to the custody of the Bureau of Prisons to be imprisoned for a term of twenty-one (21) months with
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     no supervised release to follow. It is also recommended that Defendant be housed in the Fort Worth

.    unit.

              After the Court announced the recommended sentence, Defendant executed the consent to

     revocation of supervised release and waiver of right to be present and speak at sentencing.

     Defendant and the Government also waived their right to file objections.

             SIGNED this 14th day of January, 2014.




                                         ___________________________________
                                         AMOS L. MAZZANT
                                         UNITED STATES MAGISTRATE JUDGE
